EXHIBIT A
Jonathan Shaw (Dhillon Law)

From: John Anthony Castro <j.castro@johncastro.com>

Sent: Tuesday, October 17, 2023 6:41 PM

To: Jonathan Shaw (Dhillon Law)

Ce: ‘Bryan Gould’; 'barnardb@cwbpa.com’; ‘tomaoc@cwbpa.com’; David Warrington

(Dhillon Law); Mark Meuser (Dhillon Law); 'gossI|@cwbpa.com;; ‘Richard Lehmann’;
‘Morgan G. Tanafon’; ‘Garland, Samuel’; ‘Tekin, Jill’; ‘O'Donnell, Brendan’
Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Importance: Low

External Email

Noted.

John Anthony Castro
2024 Republican Presidential Candidate

+1 202 594 4344 | J.Castro@JohnCastro.com

www.JohnCastroCo.com

f v

From: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Sent: Tuesday, October 17, 2023 5:40 PM

To: John Anthony Castro <j.castro@johncastro.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwhpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwbpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'gossi@cwbpa.com' <goss|@cwbpa.com>; ‘Richard Lehmann’ <rick@nhlawyer.com>;
‘Morgan G. Tanafon' <TanafonM@cwbpa.com>; 'Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; ‘Tekin, Jill’

<Jill. Tekin@doj.nh.gov>; ‘O'Donnell, Brendan’ <Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Then we do not have an agreement and | will be filing an opposition to your motion tomorrow.

Jonathan M. Shaw | Partner | DHILLON LAW GROUP

2121 Eisenhower Avenue, Suite 608
Alexandria, VA 22314
Direct: 703.748.2266
Mobile: 240.383.8758
Fax: 703.748.2266
Admitted to practice in Maryland, Virginia, and the District of Columbia

SAN FRANCISCO ADDRESS:

177 Post Street, Suite 700

San Francisco, California 94108

Phone: 415.433.1700| Fax: 415.520.6593

This email may be an attorney client privileged communication. If you received it in error, please destroy it and inform
the sender.

From: John Anthony Castro <j.castro@johncastro.com>

Sent: Tuesday, October 17, 2023 6:31 PM

To: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwbpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'goss|@cwbpa.com' <goss|@cwbpa.com>; 'Richard Lehmann’ <rick@nhlawyer.com>;
‘Morgan G. Tanafon' <TanafonM @cwbpa.com>; 'Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill'

<Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan’ <Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Importance: High

External Email
Jonathan,

Perfect, | need to add that my agreement is also conditioned on you and your client agreeing that, other than the
Political Queston Doctrine, there are no other grounds for claiming the Court lacks jurisdiction to hear the case.

| understand you have addressed the self-executing nature of Section 3 of the 14th Amendment, but that goes to
whether a claim upon which relief can be granted has been asserted.

Please confirm there are no other grounds, other than the Political Question Doctrine cited in your client’s Motion to
Dismiss, that you intend to raise. The reason is quite evident: if you raise new grounds, | may need your client available
to provide testimony. If you can also confirm there are no other grounds, we can proceed. If not, please consider the
PDF | sent to be null and void.

John Anthony Castro
2024 Republican Presidential Candidate

+1 202 594 4344 | J.Castro@JohnCastro.com

www.JohnCastroCo.com

f v

From: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Sent: Tuesday, October 17, 2023 5:14 PM

To: John Anthony Castro <j.castro@johncastro.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwhpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'gossi@cwbpa.com' <goss|@cwbpa.com>; 'Richard Lehmann' <rick@nhlawyer.com>;
‘Morgan G. Tanafon' <TanafonM@cwbpa.com>; 'Garland, Samuel' <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill’

<Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan’ <Brendan.A.Odonnell@doj.nh.gov>

Subject: Re: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Unfortunately, | am not in a position to print and sign at the moment, but will do so when | can.

Jonathan M. Shaw | Partner | DHILLON LAW GROUP

2121 Eisenhower Avenue, Suite 608
Alexandria, VA 22314
Mobile: 240.383.8758

SAN FRANCISCO ADDRESS:

177 Post Street, Suite 700

San Francisco, California 94108

Phone: 415.433.1700] Fax: 415.520.6593

Member of the Bars of Maryland, Virginia, and the District of Columbia.

This email may be an attorney client privileged communication. If you received it in error, please destroy it and inform
the sender.

From: John Anthony Castro <j.castro@johncastro.com>

Sent: Tuesday, October 17, 2023 6:10:51 PM

To: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwhpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'gossi@cwbpa.com' <goss|@cwbpa.com>; 'barnardb@cwhpa.com'
<barnardb@cwbpa.com>; 'Richard Lehmann' <rick@nhlawyer.com>; 'Morgan G. Tanafon' <TanafonM@cwbpa.com>;
‘Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill’ <Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan’
<Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

External Email

Upon execution, | will withdraw the motion as to Defendant Donald John Trump.

Case 1:23-cv-00416-JL Document 52-1 Filed 10/18/23 Page 5 of 10

John Anthony Castro
2024 Republican Presidential Candidate

+1 202 594 4344 | J.Castro@JohnCastro.com

www.JohnCastroCo.com

f§ v

From: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Sent: Tuesday, October 17, 2023 10:02 AM

To: John Anthony Castro <j.castro@johncastro.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwbpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'goss|@cwbpa.com' <gossi@cwbpa.com>; 'barnardb@cwbpa.com'
<barnardb@cwbpa.com>; ‘Richard Lehmann’ <rick@nhlawyer.com>; 'Morgan G. Tanafon' <TanafonM@cwbpa.com>;
‘Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill’ <Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan'
<Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Mr. Castro,

Here is a draft stipulation as discussed below. Please confirm that this is acceptable to you
and that, upon execution, you will withdraw your motion as to my client.

Yours,

Jonathan M. Shaw | Partner | DHILLON LAW GROUP

2121 Eisenhower Avenue, Suite 608

Alexandria, VA 22314

Direct: 703.748.2266

Mobile: 240.383.8758

Fax: 703.748.2266

Admitted to practice in Maryland, Virginia, and the District of Columbia

SAN FRANCISCO ADDRESS:

177 Post Street, Suite 700

San Francisco, California 94108

Phone: 415.433.1700| Fax: 415.520.6593

This email may be an attorney client privileged communication. If you received it in error, please destroy it and inform
the sender.

From: John Anthony Castro <j.castro@johncastro.com>
Sent: Monday, October 16, 2023 7:15 PM

To: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwbpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'goss|@cwbpa.com' <gossi@cwbpa.com>; 'barnardb@cwbpa.com'
<barnardb@cwbpa.com>; 'Richard Lehmann' <rick@nhlawyer.com>; 'Morgan G. Tanafon' <TanafonM@cwbpa.com>;
‘Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill’ <Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan’
<Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

External Email
Hi Jonathan,
Noted. | was unaware of the local rule and will confer on future motions.

| will amend the Motion to remove any reference to your client once we submit a joint stipulation of facts, which I’m
sure we can do by tomorrow.

Have a nice evening.

John Anthony Castro
2024 Republican Presidential Candidate

+1 202 594 4344 | J.Castro@JohnCastro.com

www.JohnCastroCo.com

f v

From: Jonathan Shaw (Dhillon Law) <JShaw@dhillonlaw.com>

Sent: Monday, October 16, 2023 6:10 PM

To: John Anthony Castro <j.castro@johncastro.com>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwbpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Mark Meuser (Dhillon Law)
<mmeuser@dhillonlaw.com>; 'goss|@cwbpa.com' <gossi@cwbpa.com>; 'barnardb@cwbpa.com'
<barnardb@cwbpa.com>; ‘Richard Lehmann’ <rick@nhlawyer.com>; 'Morgan G. Tanafon' <TanafonM@cwbpa.com>;
‘Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill’ <Jill. Tekin@doj.nh.gov>; 'O'Donnell, Brendan'
<Brendan.A.Odonnell@doj.nh.gov>

Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

Mr. Castro,

| was surprised that you filed a motion to compel my client to appear at the hearing without
first conferring with me, as required by the Local Rules. LR 7(c) (“Any party filing a motion
5
Case 1:23-cv-00416-JL Document 52-1 Filed 10/18/23 Page 7 of 10

other than a dispositive motion shall certify to the court that a good faith effort has been
made to obtain concurrence in the relief sought.”); LR 4.3(b) (Pro se “parties shall comply with
these local rules...”).

Your motion does not explain why you contend that my client should be required to attend
the hearing, but rather discusses only your reasons for wanting the Secretary of State and the
Attorney General to appear. While | do not agree that your motion establishes a need for
either of those gentlemen to appear, | will leave it to their counsel to deal with that aspect of
your motion.

The only previous explanation of the testimony you hoped to elicit from my client is set forth
in your October 6 email to Mr. O’Donnell, to which this email is a reply. Specifically, you
wrote: “Donald John Trump. | intend to establish that Donald John Trump intends to file his
Declaration of Candidacy and pay the $1,000 filing fee either in-person or by mail postmarked
between October 11 — 27 as required by state law.” My client will stipulate that he will file his
Declaration of Candidacy and pay the $1,000 filing fee by October 27, 2023. Accordingly, at
least with respect to my client, your motion is moot. Please confirm that you will withdraw
your motion with respect to my client.

Yours,

Jonathan M. Shaw | Partner | DHILLON LAW GROUP

2121 Eisenhower Avenue, Suite 608

Alexandria, VA 22314

Direct: 703.748.2266

Mobile: 240.383.8758

Fax: 703.748.2266

Admitted to practice in Maryland, Virginia, and the District of Columbia

SAN FRANCISCO ADDRESS:

177 Post Street, Suite 700

San Francisco, California 94108

Phone: 415.433.1700| Fax: 415.520.6593

This email may be an attorney client privileged communication. If you received it in error, please destroy it and inform
the sender.

From: John Anthony Castro <j.castro@johncastro.com>

Sent: Friday, October 6, 2023 11:47 AM

To: ‘O'Donnell, Brendan' <Brendan.A.Odonnell@doj.nh.gov>

Ce: 'Bryan Gould' <gouldb@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'tomaoc@cwhpa.com'
<tomaoc@cwbpa.com>; David Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>; Jonathan Shaw (Dhillon Law)
<JShaw@gdhillonlaw.com>; Mark Meuser (Dhillon Law) <mmeuser@dhillonlaw.com>; 'gossi@cwbpa.com'
<goss|@cwbpa.com>; 'barnardb@cwbpa.com' <barnardb@cwbpa.com>; 'Richard Lehmann’ <rick@nhlawyer.com>;
‘Morgan G. Tanafon' <TanafonM @cwbpa.com>; 'Garland, Samuel’ <Samuel.RV.Garland@doj.nh.gov>; 'Tekin, Jill'

<Jill. Tekin@doj.nh.gov>

6
Subject: RE: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List
Importance: High

External Email

Good Morning Brendan,

| will outline the intended purposes below:

1.

John Michael Formella. | intend to establish that the New Hampshire Attorney General informed David Scanlan
that state law pursuant to N.H. Rev. Stat. § 655:47 does not permit him to make a unilateral determination
regarding an individual’s constitutional qualifications. If Russian President Vladimir Putin submitted a
Declaration of Candidacy pursuant to N.H. Rev. Stat. § 655:47, the position of the New Hampshire Attorney
General is that, as the law states, the “names of any persons to be voted upon as candidates for president at the
presidential primary shall be printed on the ballots upon the filing of declarations of candidacy.” If you stipulate
that the State’s position is that anyone, including Russian President Vladimir Putin, who submits a Declaration of
Candidacy must be printed on the ballot, | will forego calling John Formella as a witness. This is not intended to
harass or embarrass John Formella; rather, it is to highlight the absurdity of the position and the need for judicial
intervention. Because | doubt the state will stipulate to that fact, | suspect | will be compelled to still call him as
a witness pursuant to Fed. R. Civ. P. 45(c)(1)(A).

David Michael Scanlan. | intend to establish that David Michael Scanlan accepted the conclusion of the New
Hampshire Attorney General that he has absolutely zero discretion to determine eligibility even if Russian
President Vladimir Putin submitted a Declaration of Candidacy with a $1,000 filing fee. This is not intended to
harass or embarrass David Michael Scanlan; rather, it is to highlight the absurdity of the position and the need
for judicial intervention. Because | doubt the state will stipulate to that fact, | suspect | will be compelled to still
call him as a witness pursuant to Fed. R. Civ. P. 45(c)(1)(A).

Donald John Trump. | intend to establish that Donald John Trump intends to file his Declaration of Candidacy
and pay the $1,000 filing fee either in-person or by mail postmarked between October 11 — 27 as required by
state law. This is intended to neutralize any attempt by this thrice-indicted criminal defendant to mail in his
documentation on October 27 via First Class “Snail” Mail with the intent to satisfying the mailbox rule but
frustrating the ability of the Court to establish that we are both candidates on the ballot. This defendant is
renowned for his cowardice in avoiding political debates and court appearances.

John Anthony Castro
2024 Republican Presidential Candidate

+1202 594 4344 | J.Castro@JohnCastro.com

www.JohnCastroCo.com

ft ¥

From: O'Donnell, Brendan Brendan.A.Odonnell@doj.nh.gov

Sent: Friday, October 6, 2023 8:44 AM

To: John Anthony Castro, J.D., LL.M. j.castro@castroandco.com

Cc: Bryan Gould gouldb@cwbpa.com; barnardb@cwbpa.com; tomaoc@cwbpa.com; dwarrington@gdhillonlaw.com;
jshaw@dhillonlaw.com; mmeuser@dhillonlaw.com; goss|@cwbpa.com; barnardb@cwbpa.com; Richard Lehmann
rick@nhlawyer.com; Morgan G. Tanafon TanafonM@cwbhpa.com; Garland, Samuel Samuel.RV.Garland@doj.nh.gov;
Tekin, Jill Jill Tekin@doj.nh.gov

Subject: Castro v. NH Secretary of State & Mr. Trump--Castro's Proposed Witness List

You don't often get email from brendan.a.odonnell@doj.nh.gov. Learn why this is important

Good morning Mr. Castro,

In your witness list below, you indicated that you intend to call Attorney General Formella and Secretary of State Scanlan
as witnesses for the Court’s hearing on standing.

Your witness list did not indicate what facts, if any, you may seek to elicit from these two witnesses. Depending on what
facts you want to establish through these witnesses, it may be possible to stipulate to those facts, thereby obviating the
need for attendance from these witnesses.

Would you please clarify your purpose in seeking to call these two witnesses and explain what facts you intend to
establish through these witnesses?

Thank you,

Brendan

Brendan A. O’Donnell

Election Law Unit Chief

New Hampshire Department of Justice
33 Capitol St., Concord, NH 03301
brendan.a.odonnell@doj.nh.gov
Telephone: 603-271-3658

Direct Dial: 603-271-1269

From: ecf_bounce@nhd.uscourts.gov <ecf_bounce@nhd.uscourts.gov>

Sent: Thursday, October 5, 2023 5:47 PM

To: nef@nhd.uscourts.gov

Subject: Activity in Case 1:23-cv-00416-JL Castro v. NH Secretary of State et al Miscellaneous Filing

EXTERNAL: Do not open attachments or click on links unless you recognize and trust the sender.

This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.

*** NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

U.S. District Court
District of New Hampshire
Notice of Electronic Filing

The following transaction was entered on 10/5/2023 at 5:47 PM EDT and filed on 10/5/2023

Case Name: Castro v. NH Secretary of State et al
Case Number: 1:23-cv-00416-JL
Filer: John Anthony Castro

Document Number: 40

Docket Text:
Plaintiffs Corrected Witness List, Exhibit List, and Proposed Findings of Fact and Law Re
Jurisdiction by John Anthony Castro(Castro, John)

1:23-cv-00416-JL Notice has been electronically mailed to:

Brendan Avery O'Donnell brendan.a.odonnell@doj.nh.gov, DOJ-CivilBureaucourts @doj.nh.gov, jill.tekin@doj.nh.gov

Bryan K.Gould gouldb@cwbpa.com, barnardb@cwbpa.com, tomaoc@cwbpa.com

David Warrington dwarrington@dhillonlaw.com

John Anthony Castro = j.castro@castroandco.com

Jonathan Mark Shaw = jshaw@gdhillonlaw.com

Mark Meuser mmeuser@dchillonlaw.com

Morgan Tanafon tanafonm@cwbpa.com, barnardb@cwbpa.com, gossi@cwbpa.com

Richard J. Lehmann — rick@nhlawyer.com

1:23-cv-00416-JL Notice, to the extent appropriate, must be delivered conventionally to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1045603718 [Date=10/5/2023] [FileNumber=2707626-0
] [7feS5dda7ae61618def7bc32fe56b8ab767c24656a0a4f196d8fd8523b5accad4e77
9a8cadc4abf054f6f44d4a9089d0c4186d8f41ded29a3a3fb512cbfd10f78]]
